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   16
                                     UNITED STATES DISTRICT COURT
   17
                                   CENTRAL DISTRICT OF CALIFORNIA
   18

   19     IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (JEMx)
   20
          LEAGUE’S “SUNDAY TICKET”                       REPLY MEMORANDUM IN
          ANTITRUST LITIGATION                           SUPPORT OF THE NFL
   21     ______________________________                 DEFENDANTS’ MOTION FOR
                                                         SUMMARY JUDGMENT
   22
          THIS DOCUMENT RELATES TO:                      Judge: Hon. Philip S. Gutierrez
   23                                                    Date: October 27, 2023
          ALL ACTIONS
   24                                                    Time: 1:30 p.m.
                                                         Courtroom: First Street Courthouse
   25
                                                                    350 West 1st Street
   26                                                               Courtroom 6A
                                                                    Los Angeles, CA 90012
   27

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   17      96 F. Supp. 3d 81 (S.D.N.Y. 2015) ................................................................ 8, 12
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   20   United States v. Nat’l Football League,
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    1           Plaintiffs’ Opposition rests on the premise that the Ninth Circuit’s decision
    2   allowing their complaint to survive a motion to dismiss dictates the result at summary
    3   judgment. That is wrong. The Ninth Circuit addressed only the plausibility of the
    4   claims and allegations Plaintiffs pleaded seven years ago in the absence of a factual
    5   record. Plaintiffs’ obligation now is to demonstrate that their current claims may
    6   proceed in light of the record and currently applicable legal principles the Ninth
    7   Circuit did not address. Plaintiffs cannot satisfy that obligation, and summary
    8   judgment is warranted.
    9                                        ARGUMENT
   10   I.      Plaintiffs’ Claims Are Barred By The Sports Broadcasting Act.
   11           Plaintiffs do not dispute that their alleged proof of (i) anticompetitive harm,
   12   (ii) antitrust impact, and (iii) damages all depends on substantially revising or
   13   eliminating altogether central provisions of the NFL’s agreements with CBS and
   14   FOX (the NFL-Network Agreements). These direct challenges to the NFL-Network
   15   Agreements cannot proceed consistent with the SBA. The Ninth Circuit did not
   16   address this issue; it expressly noted Plaintiffs’ agreement that “the NFL-Network
   17   Agreement[s] [are] covered by the SBA” and limited its analysis to the alleged
   18   interaction of the “Teams-NFL and NFL-DirecTV Agreements.” In re Nat’l Football
   19   League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1147–48, 1149 n.4 (9th Cir.
   20   2019). Plaintiffs’ attempt to reverse position by seeking to invalidate key provisions
   21   of those agreements cannot be reconciled with the SBA.
   22           A.        Plaintiffs’ Claims Depend On Attacking SBA-Protected
   23                                           In The NFL-Network Agreements.
   24           There is no dispute that Plaintiffs’ claims now depend on successfully
   25   attacking the NFL-Network Agreement provisions that
   26                                                                                                           .
   27   Mot. 6–10; Opp. 8–10; SUF Reply ¶¶ 94, 108–138. The theories that Plaintiffs
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    1   currently advance would gut these protective provisions and enable
    2                                                                                   .
    3           The text and history of the SBA confirm that protecting the exclusivity of game
    4   broadcasts is at the core of the statute. The SBA grants an antitrust exemption for the
    5   sale of “all or any part” of broadcasting rights. 15 U.S.C. § 1291. Plaintiffs appear to
    6   suggest that the SBA protects only the sale of non-exclusive broadcast rights—i.e.,
    7   that it permits the NFL and clubs to contract for broadcast productions, but does not
    8   allow broadcasters to protect their viewership by precluding or limiting alternative
    9   productions from broadcast or other distributors. There is no such limitation in the
   10   text. See USFL v. NFL, 842 F.2d 1335, 1354 (2d Cir. 1988) (“the [SBA] does contain
   11   express limitations” relating to college football, “which suggests by implication that
   12   no other limitations exist”). Reading in such a limitation would not only violate
   13   principles of statutory interpretation but also make no sense; there would be no need
   14   for an antitrust exemption to cover only licensing of non-exclusive broadcast rights.
   15           The legislative history confirms that the SBA was designed to protect
   16   broadcast exclusivity. It was enacted “to overrule the effect of [the NFL II] decision,”
   17   which enjoined the execution of a “contract between the [NFL] and [CBS] granting
   18   CBS the exclusive right to televise league games.” S. Rep. No. 87-1087 (1961), 1961
   19   U.S.C.C.A.N. 3042, 3042 (emphasis added); see also Sunday Ticket, 933 F.3d
   20   at 1145–46. The agreement at issue in NFL II actually provided greater exclusivity
   21   than the NFL-Network Agreements: it involved a single network, left no residual
   22   rights to be sold, and thus resulted in lower output of Sunday afternoon telecasts. See
   23   United States v. Nat’l Football League, 196 F. Supp. 445, 446–47 (E.D. Pa. 1961).
   24           SBA precedent is to the same effect. “Any transfer of broadcast rights entails
   25   exclusion of the competing uses of the same rights.” Chi. Pro. Sports Ltd. P’ship v.
   26   Nat’l Basketball Ass’n, 961 F.2d 667, 670 (7th Cir. 1992) (Easterbrook, J.)
   27   (“Bulls I”). Indeed, “[u]nless the [SBA] allows the league to bar broadcasting of at
   28   least some games,” such as by an exclusive license, “it is hard to see why it is cast as
                                                     2
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    1   an exemption from the antitrust laws.” Id. Thus, for example, in USFL v. NFL, the
    2   Second Circuit upheld application of the SBA to the NFL’s then-current broadcast
    3   agreements despite noting that “the NFL was forbidden by [the] network contracts to
    4   televise games on cable.” 842 F.2d at 1348, 1353–55 (emphasis added).
    5           But Plaintiffs’ whole case is built on undermining the exclusivity protected by
    6   the SBA.
    7

    8                                                  . Mot. 6. Their models assume
    9

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   11                                   of the NFL-Network Agreements. SUF Reply ¶¶ 94, 108–138.
   12   Contrary to Plaintiffs’ suggestion (Opp. 8), Defendants are not re-litigating Shaw or
   13   the motion to dismiss ruling, and are not seeking to extend the protections of the SBA
   14   to a license for “paid telecasting” (i.e., the vertical NFL-DirecTV Agreement).
   15   Defendants explain in section IV, below, why any challenge to that vertical
   16   agreement fails on the merits. Here, Defendants argue only that the SBA protects the
   17                                                                                                                 .
   18           The key point for present purposes is this. All should agree that the SBA grants
   19   the NFL and clubs the right to enter fully exclusive contracts with CBS and FOX,
   20   under which the only Sunday afternoon telecasts are the ones they produce and air.
   21   Plaintiffs offer no legal or logical explanation for why the SBA provides less
   22   protection for the output-enhancing (and plainly more consumer-friendly) scenario
   23   in which Sunday Ticket supplements the CBS and FOX broadcasts
   24                                                                                              .
   25           Finally, Plaintiffs are incorrect to claim that the SBA is relevant only to their
   26   claims under Section 1 of the Sherman Act. Opp. 8 n.6. The SBA unambiguously
   27   provides an exception to “[t]he antitrust laws,” including “as defined in section 1 of
   28   the Act of October 15, 1914,” 15 U.S.C. § 1291, which in turn defines “the antitrust
                                                           3
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    1   laws” to include the entirety of the Sherman Act, 38 Stat. 730. Accordingly, the SBA
    2   precludes all of Plaintiffs’ claims and compels entry of judgment for Defendants.
    3           B.        There Is No Evidence Of A Horizontal Teams-NFL Agreement
    4                     Separate From The SBA-Protected NFL-Network Agreements.

    5           A separate core factual premise of Plaintiffs’ case is that there is an unlawful
    6   agreement by which the NFL clubs transferred telecast rights to the NFL. Plaintiffs
    7   define this as another part of the Challenged Conduct, calling it the “Teams-NFL
    8   Agreement” to pool licenses. See Sunday Ticket, 933 F.3d at 1148–49. But Plaintiffs
    9   offer no evidence that any such separate agreement exists—the “pooling” conduct
   10   that Plaintiffs challenge occurs through the SBA-protected NFL-Network
   11   Agreements. This independent factual defense limits Plaintiffs to challenging just the
   12   vertical NFL-DirecTV Agreement, which they fail to do, see infra § IV.
   13           As the undisputed record demonstrates, (i) the NFL Constitution assigns
   14   certain telecast rights to the individual clubs and (ii) the NFL acts as agent for the
   15   clubs in negotiating and executing the SBA-protected NFL-Network Agreements.
   16   SUF Reply ¶¶ 4–7, 26–28. Those SBA-protected NFL-Network Agreements are the
   17   only pooling agreements in the record. Id. ¶¶ 26–28. The evidence supporting these
   18   straightforward points was not—and could not have been—addressed at the motion
   19   to dismiss stage. See, e.g., Gilliam v. Levine, 2023 WL 2770922, at *2 (9th Cir. Apr.
   20   4, 2023) (“law of the case does not apply because this appeal concerns a motion for
   21   summary judgment, whereas the prior appeal involved a motion to dismiss”).
   22           Plaintiffs offer no contrary evidence. Plaintiffs cite
   23                                                                  (Opp. 13), but
   24   confirms that                                                                                           . For
   25   example,
   26

   27                (Leckman Decl. Ex. 13 at 19 (emphasis added)), not some separate
   28   agreements antecedent to the NFL-Network Agreements. See SUF Reply ¶¶ 26–28.
                                                     4
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 1           Plaintiffs’ reliance (Opp. 14) on an obscure reference to a
 2                 changes nothing. Plaintiffs claim that                         described a
 3                                                                                            . But there is
 4   no evidence of what                     is (or was), or that it has (or had) any relation to
 5   the issues in this case. The document,                                                  , would in any
 6   event be superseded by the operative agreements in the record that do not mention
 7   (let alone incorporate) any such                  . SUF Reply ¶ 185. Citing language from
 8   a document with no context or evidence of its relevance does not create a triable issue
 9   of fact. See, e.g., In re HIV Antitrust Litig., 2023 WL 3088218, at *2 (N.D. Cal. Feb.
10   17, 2023) (“[T]here must be evidence on which the jury could reasonably find for the
11   nonmoving party.”). There is accordingly no potentially unlawful horizontal
12   “pooling” conduct among the NFL clubs for Plaintiffs to challenge.
13   II.     Plaintiffs’ Horizontal Theories Fail Because The NFL And Its Member
14           Clubs Must Cooperate To Produce NFL Telecasts.

15           Defendants’ opening brief demonstrated that the NFL Defendants operate as a
16   single entity for purposes of licensing NFL Football telecasts. Mot. 12–18. Plaintiffs
17   respond primarily with a series of procedural objections, none of which precludes
18   this Court from considering Defendants’ arguments. More important, on the merits,
19   Plaintiffs have effectively conceded that Defendants are right.
20           A.        There Is No Barrier To This Court’s Consideration Of The NFL
21                     Defendants’ Arguments.

22           Plaintiffs misrepresent the law in suggesting that either the Ninth Circuit’s
23   prior decision or American Needle precludes this single-entity argument. As to the
24   Ninth Circuit, Defendants did not move to dismiss on single-entity grounds, and the
25   court’s opinion did not rule on that question. See Sunday Ticket, 933 F.3d at 1154.
26   That argument had to wait for a factual record. Nor did the Ninth Circuit implicitly
27   reject this argument in ruling that it could identify no “binding precedent requiring
28   the teams and the NFL to cooperate in order to produce . . . telecasts,” id. at 1153
                                                   5
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 1   (emphasis added). The fact that at the motion to dismiss stage, the Court identified
 2   no clear legal obstacle to Plaintiffs’ case does not mean that they have now produced
 3   sufficient factual evidence to allow their claims to survive.
 4           That distinction—between the allegations at issue in the Ninth Circuit’s ruling
 5   and the evidence available now—makes all the difference. A district court may not
 6   assess a summary judgment motion “solely in reliance on [prior] appellate holdings”;
 7   it instead “must examine whatever materials” are presented at the time. Pubali Bank
 8   v. City Nat’l Bank, 777 F.2d 1340, 1342 (9th Cir. 1985). As is evident from Pubali
 9   Bank —and basic principles of civil procedure—the law-of-the-case doctrine has no
10   application here. “Given the different standards for motions to dismiss and motions
11   for summary judgment, courts may (and routinely do) reconsider the same legal
12   arguments at the summary judgment stage.” Braden Partners, LP v. Twin City Fire
13   Ins. Co., 2017 WL 63019, at *6 (N.D. Cal. Jan. 5, 2017).
14           Nor did the Ninth Circuit’s discussion of other sports leagues’ telecast
15   arrangements reflect a merits ruling on Defendants’ single-entity argument. See Opp.
16   18–19 (citing Sunday Ticket, 933 F.3d at 1154). As a legal matter, a court’s recitation
17   of facts from other judicial opinions is not admissible evidence. See, e.g., Carrillo v.
18   County of Los Angeles, 2012 WL 12850128, at *4 n.4 (C.D. Cal. Nov. 14, 2012) (“[A
19   prior court’s] findings are inadmissible evidence in this case.”). More important, the
20   record here shows that those leagues and teams also must agree with each other to
21   produce game telecasts. SUF Reply ¶¶ 74–79. That those leagues have agreed to
22   different allocations of telecast rights does not change the undisputed fact that
23   agreements are necessary to produce the telecasts in the first place. See Mot. 16–18.
24           As to American Needle v. NFL, that case addressed whether the NFL was a
25   single entity only “when it comes to the marketing of the teams’ individually owned
26   intellectual property.” 560 U.S. 183, 204 (2010) (emphasis added). It expressly left
27   open the question whether the NFL and its clubs might be a single entity for other
28   purposes. Id.; see also Chicago Pro. Sports Ltd. P’ship v. Nat’l Basketball Ass’n, 95
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 1   F.3d 593, 600 (7th Cir. 1996) (Easterbrook, J.) (“Sports are sufficiently diverse that
 2   it is essential to investigate their organization and ask Copperweld’s functional
 3   question one league at a time—and perhaps one facet of a league at a time.”).
 4           Finally, Plaintiffs assert an illusory contradiction between Defendants’ single-
 5   entity and SBA arguments, claiming the SBA presumes that the NFL and its clubs
 6   are capable of a Section 1 conspiracy. Opp. 15. Not so. The single-entity arguments
 7   are based on the Supreme Court’s 1984 Copperweld decision, which postdates the
 8   SBA by more than 20 years and rejected the “intra-enterprise conspiracy doctrine”
 9   prevailing when the SBA was enacted in 1961. See, e.g., Indep. Tube Corp. v.
10   Copperweld Corp., 691 F.2d 310, 316–20 (7th Cir. 1982) (discussing and applying
11   doctrine), rev’d, 467 U.S. 752; see also Copperweld, 467 U.S. at 760–65 (discussing
12   development of intra-enterprise conspiracy doctrine between 1947 and 1951).
13           B.        The NFL Defendants Are A Single Entity For Purposes Of
14                     Telecast Licensing.

15           Plaintiffs do not dispute that under Copperweld and its progeny, the operative
16   legal question is whether the NFL and its clubs exercise “independent sources of
17   economic power” in licensing telecasts or, instead, exercise economic power that
18   “depends, and has always depended, on the cooperation among [them].” Mot. 12–13
19   (also citing Freeman v. San Diego Ass’n of Realtors, 322 F.3d 1133, 1148–49 (9th
20   Cir. 2003), and City of Mount Pleasant v. Assoc. Elec. Co-op. Inc., 838 F.2d 268,
21   276–77 (8th Cir. 1988)). Nor do Plaintiffs dispute that the relevant factual question
22   posed by this legal test is whether the NFL and its member clubs can each license
23   telecasting rights to an NFL game without the consent of the others. Mot. 12–13.
24           Plaintiffs admit that the answer to this question is no. First, Plaintiffs admit
25   that “cooperation [is] required to schedule and create an NFL game (on the field of
26   play).” Opp. 18 n.17 (emphasis omitted); see also SUF Reply ¶¶ 5, 8–14, 19–21.
27   Because a game is a necessary input to a game broadcast, the need to cooperate to
28   create the game a fortiori proves the need to cooperate to create the game telecast:
                                                  7
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 1   without that cooperation, there is no game to be telecast at all. Second, Plaintiffs
 2   admit the need for agreement among the clubs to license the intellectual property
 3   rights necessary to telecast a single game. Opp. 17; see also SUF Reply ¶¶ 16–18,
 4   22–23. If a club needs an agreement with another club and the NFL to license a
 5   telecast, it does not have “independent” ability to license that telecast, nor is it a
 6   “competitor” to the other club or to the NFL with which it must cooperate to create
 7   the telecast. See Freeman, 322 F.3d at 1148–49; Mt. Pleasant, 838 F.2d at 276–77.
 8           These admissions are dispositive. In Washington v. National Football League,
 9   880 F. Supp. 2d 1004 (D. Minn. 2012), the court ruled that the NFL and its member
10   teams are a single entity regarding historical game footage, and thus cannot engage
11   in “concerted action that is illegal under the Sherman Act.” Id. at 1006. The court
12   found that the NFL and its teams cannot conspire to market “property the teams and
13   the NFL can only collectively own.” Id.; see Spinelli v. Nat’l Football League, 96 F.
14   Supp. 3d 81, 114 (S.D.N.Y. 2015) (same for game photographs). That conclusion
15   follows more strongly for live game footage. Although Plaintiffs assert that these
16   cases involve different “types of cooperation” (Opp. 18 n.17), they do not identify
17   any difference that would change the analysis or the conclusion.
18           Plaintiffs’ remaining arguments also fail. They argue (Opp. 17) that clubs
19   would have an incentive to agree to other clubs’ telecast licensing. But even if that
20   incentive exists, it would not obviate the need for cooperation in the first place, which
21   is the relevant question. Plaintiffs likewise suggest that college football involves
22   consent between two teams and one or more governing bodies, such as conferences,
23   and tout that Notre Dame “has no trouble reaching agreements with the NCAA or the
24   teams it plays” to license telecasts. Id. (citing AUF ¶¶ 81–82, which are the only two
25   facts cited in Plaintiffs’ entire response to Defendants’ single-entity argument). That
26   again proves Defendants’ point: a single college team cannot act alone to license
27   telecasts; it must cooperate and obtain consents from competing teams and
28   conferences. It is telling that team licenses are the extreme outlier in college football;
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 1   the far more common outcome is for conferences—which Plaintiffs say are sports
 2   leagues like the NFL—to license telecasts rights collectively. SUF Reply ¶¶ 80–82.
 3           Plaintiffs fare no better in repeating their appeals to NFL telecast licensing
 4   practices in the 1950s (Opp. 15–17), when broadcast agreements were subject to the
 5   approval of the League Commissioner, SUF Reply ¶¶ 72, 73. The fact that CBS “still
 6   needed to negotiate contracts with each team independently” after reaching that
 7   “initial agreement” with the League (Opp. 16 (emphasis and citation omitted)), is
 8   irrelevant. The relevant fact is that CBS needed an “initial agreement” with the
 9   League before contracting with individual clubs. That fact is undisputed, and it
10   confirms that telecasts involve “property the teams and the NFL can only collectively
11   own.” Washington, 880 F. Supp. 2d at 1006. Defendants are a single entity for
12   purposes of game telecasts, precluding Plaintiffs from stating an antitrust claim.
13           C.        Plaintiffs Proffer No Evidence That The Challenged Cooperation
14                     To License NFL Football Telecasts Had Anticompetitive Effects.

15           Even if the NFL and its clubs were not a single entity for telecast licensing
16   purposes, Plaintiffs would still need to demonstrate a triable issue as to whether the
17   challenged cooperation was anticompetitive. Mot. 18–19. Plaintiffs cannot make that
18   showing because cooperation is necessary to create NFL telecasts. The Ninth
19   Circuit’s conclusion that Plaintiffs plausibly alleged that telecasts can be created
20   without “cooperation among competitors,” 933 F.3d at 1154–55, does not answer the
21   question whether Plaintiffs have offered evidence to support those allegations.
22           Rather than offer such evidence, Plaintiffs concede that cooperation among the
23   NFL and the clubs is required to create and license NFL Football telecasts. SUF
24   Reply ¶¶ 5, 8–23. And they cannot walk away from their expert’s admission—writing
25   about the NFL—that “if there could be no product without the agreement, then the
26   agreement does not restrain any competition.” Kilaru Decl. Ex. 40; accord Am.
27   Needle, 560 U.S. at 203. It is not surprising that Plaintiffs offer no support—factual
28   or legal—for the proposition that the NFL and the clubs must (i) engage in the
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 1   cooperation necessary to produce the NFL Football product and then (ii) dismember
 2   that same product for separate sale. Mot. 19; see also Nat’l Football League v. Ninth
 3   Inning, Inc., 141 S. Ct. 56, 57 (2020) (statement of Kavanaugh, J.) (citing American
 4   Needle, noting that “NFL teams . . . must cooperate in the production and scheduling
 5   of games,” and concluding that “antitrust law likely does not require that the NFL
 6   and its member teams compete against each other with respect to television rights”).
 7   III.    Plaintiffs Lack Evidence Of DirecTV’s Involvement In The Alleged
 8           Conspiracy And Therefore Lack Standing Under Illinois Brick.

 9           At the motion-to-dismiss stage, the Ninth Circuit held that Plaintiffs’ damages
10   claims survived Illinois Brick because “the complaint adequately alleges that
11   DirecTV conspired with the NFL and the NFL Teams to limit the production of
12   telecasts to one per game.” Sunday Ticket, 933 F.3d at 1158 (emphasis added). But
13   at summary judgment, Plaintiffs must proffer evidence of DirecTV’s participation in
14   that alleged conspiracy—i.e., that DirecTV had “a conscious commitment to a
15   common scheme designed to achieve an unlawful objective.” Monsanto Co. v. Spray-
16   Rite Serv. Corp., 465 U.S. 752, 764 (1984). They have no such evidence.
17           Plaintiffs disclaim any argument that the NFL-DirecTV Agreement itself
18   violates the antitrust laws. Opp. 20–21. They rely instead on alleged anticompetitive
19   effects of a purported “scheme” of “interlocking agreements.” Opp. 23. Plaintiffs
20   thus must prove DirecTV’s “conscious commitment” to a scheme that extends
21   beyond the NFL-DirecTV Agreement. As their cited case explains, “[i]f the plaintiff
22   alleges that [certain conduct] is in service of a plan to restrain competition, then it
23   must [offer] enough additional facts to show that agreement to such a plan exists.”
24   Relevent Sports, LLC v. U.S. Soccer Fed’n, Inc., 61 F.4th 299, 308 (2d Cir. 2023).
25           Plaintiffs do not proffer any “additional facts” that DirecTV agreed to any such
26   “scheme” or “plan.” Instead, their “primary evidence” of DirecTV’s participation is
27   “the agreements themselves.” Opp. 20. But allegations of agreements that Plaintiffs
28   assert are interlocking says nothing about DirecTV’s conduct outside the four corners
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 1   of its own agreement. Plaintiffs have failed to identify any direct or circumstantial
 2   evidence of any scheme or plan extending beyond those four corners.
 3           Plaintiffs have no direct evidence—“evidence that is explicit and requires no
 4   inferences to establish the proposition or conclusion being asserted”—of DirecTV’s
 5   participation in such a broader scheme. In re Citric Acid Antitrust Litig., 191 F.3d
 6   1090, 1094 (9th Cir. 1999). All Plaintiffs have is proof that DirecTV accepted the
 7   NFL’s terms and entered into an ordinary commercial contract of the kind that occurs
 8   every day in the entertainment industry, where exclusive licenses are common. That
 9   is not enough. See Relevant Sports, 61 F.4th at 308; Toscano v. Pro. Golfers Ass’n,
10   258 F.3d 978, 983 (9th Cir. 2001).
11           Plaintiffs also have no circumstantial evidence of DirecTV’s participation in a
12   scheme extending beyond its own contract. They cite (Opp. 22) the NFL’s asserted
13   motivations in contracting with DirecTV, but it is DirecTV’s perspective that is
14   relevant in assessing whether DirecTV agreed to conspire. And DirecTV’s choice to
15   contract with the NFL is “consistent with”—and thus does not “tend to exclude the
16   possibility of”—legitimate behavior. Citric Acid, 191 F.3d at 1095; see Toscano, 258
17   F.3d at 984 (“merely agree[ing] to purchase products or provide a service under
18   conditions set by the other party” is not evidence of conspiracy). The court should
19   not “read evidence of [a] benign agreement as evidence of a separate, illegal
20   agreement.” Ross v. Am. Express Co., 35 F. Supp. 3d 407, 452 (S.D.N.Y. 2014), aff’d
21   630 F. App’x 79 (2d Cir. 2015); see also Kendall v. Visa U.S.A., Inc., 518 F.3d 1042,
22   1048 (9th Cir. 2008) (banks’ participation in consortium was not evidence that they
23   “conspired or agreed with each other or with the Consortiums to restrain trade”).
24   IV.     Plaintiffs’ Claims Based On The Vertical Agreement Between The NFL
25           And DirecTV Fail As A Matter Of Law.
26           As discussed above, the record confirms that Plaintiffs have identified no
27   triable issue—and have no viable claim—arising from any agreement between the
28   NFL clubs and the NFL or between the NFL and the Networks. Plaintiffs’ only
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 1   potential remaining argument would be that the vertical NFL-DirecTV Agreement
 2   restrains competition. But Plaintiffs offer no argument explaining how that vertical
 3   agreement—standing alone—either restrains competition or harms consumers.
 4           The Opposition does not contend with the longstanding precedent that the
 5   NFL’s vertical agreement with DirecTV, in which the NFL simply licenses its own
 6   copyrights to game feeds, “by itself, does not constitute an illegal restraint under the
 7   antitrust laws.” Levi Case Co. v. ATS Prods., Inc., 788 F. Supp. 428, 432 (N.D. Cal.
 8   1992). “An exclusive license, which merely confers upon the licensee the ability to
 9   exploit the licensor’s exclusive intellectual property rights, does not violate the
10   antitrust laws.” Spinelli, 96 F. Supp. 3d at 118; see Parrish v. Nat’l Football League
11   Players Ass’n, 534 F. Supp. 2d 1081, 1092 (N.D. Cal. 2007) (“The mere existence of
12   an exclusive deal between the NFLPA and its licensees does not violate the antitrust
13   laws or significantly threaten competition.”); Fleer Corp. v. Topps Chewing Gum,
14   Inc., 658 F.2d 139, 153 (3d Cir. 1981) (“[A]s a licensor, the MLBPA is free to grant
15   licenses to any competitor, or none at all.”). Instead, Plaintiffs largely rehash their
16   failed arguments that DirecTV was part of a broader conspiracy. See Opp. 23–25.
17           Plaintiffs argue in a footnote (Opp. 24 n.22) that this precedent does not apply
18   because the Ninth Circuit “held” that this is not a “run-of-the-mill” agreement. But
19   once again, the Ninth Circuit took as true Plaintiffs’ allegations that the NFL-
20   DirecTV Agreement was part of a broader “conspiracy.” Based on the actual
21   evidence, Plaintiffs’ allegations of a broader conspiracy are superseded by the SBA
22   (see § I, supra), are barred by the single-entity doctrine (§ II), and are factually
23   unsupported (§ III). The precedents above thus remain controlling. See, e.g., Honey
24   Bum, LLC v. Fashion Nova, Inc., 2022 WL 385185, at *3 (C.D. Cal. Jan. 6, 2022),
25   aff’d, 63 F.4th 813 (9th Cir. 2023) (granting summary judgment and declining to
26   “deem an agreement horizontal based only on evidence of vertical agreements . . . .”).
27                                        CONCLUSION
28           The Court should grant summary judgment in favor of Defendants.
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